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                                  9                               UNITED STATES DISTRICT COURT
                                 10                                      DISTRICT OF NEVADA
HOWARD & HOWARD ATTORNEYS PLLC




                                 11 PARNELL COLVIN,                                        Case No. 2:20-cv-01765-APG-EJY
                                 12                  Plaintiff,                            JOINT SUBMISSION OF EXHIBIT LISTS
                                 13 vs.

                                 14 M.J. DEAN CONSTRUCTION, INC,

                                 15                  Defendant.
                                 16
                                              Pursuant to this Court’s Order entered March 13, 2023 (ECF 100), the Parties submit the
                                 17
                                      following Exhibit Lists:
                                 18
                                                    Exhibit 1: Joint Exhibits
                                 19
                                                    Exhibit 2: Plaintiff’s Exhibits
                                 20
                                                    Exhibit 3: Defendant’s Exhibits
                                 21
                                       Dated this 20th day of March, 2023                  Dated this 20th day of March, 2023
                                 22
                                            HOWARD & HOWARD ATTORNEYS PLLC                 LAW OFFICES OF MICHAEL P. BALABAN
                                 23
                                          By: /s/ Robert Hernquist
                                 24         Martin A. Little, Nevada Bar No. 7067          By: /s/ Michael P. Balaban
                                            Robert Rosenthal, Nevada Bar No. 6476            Michael P. Balaban, Nevada Bar No. 9370
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                                                                                           Attorney for Plaintiff Parnell Colvin
                                 26       Attorneys for Defendant M.J. Dean
                                          Construction, Inc.
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